

Matter of Teanni D. (2021 NY Slip Op 06437)





Matter of Teanni D.


2021 NY Slip Op 06437


Decided on November 18, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: November 18, 2021

Before: Kapnick, J.P., Webber, Oing, Moulton, Rodriguez, JJ. 


Docket No. D-1920/20 Appeal No. 14647 Case No. 2020-03937 

[*1]In the Matter of Teanni D., A Person Alleged to be a Juvenile Delinquent, Appellant. Presentment Agency


Law Office of Lewis S. Calderson, Jamaica (Lewis S. Calderon of counsel), for appellant.
Georgia M. Pestana, Corporation Counsel, New York (Diana Lawless of counsel), for presentment agency.



Order, Family Court, New York County (Carol Goldstein, J.), entered on or about July 1, 2020, which adjudicated appellant a juvenile delinquent upon her admission that she committed an act that, if committed by an adult, would constitute the crime of petit larceny, and placed her on probation for a period of 12 months, unanimously affirmed, without costs.
The court providently exercised its discretion when it adjudicated appellant a juvenile delinquent and placed her on probation, which was recommended by the Probation Department, and which was the least restrictive dispositional alternative consistent with appellant's needs and the community's need for protection (see Matter of Katherine W. , 62 NY2d 947 [1984]). An adjournment in contemplation of dismissal would not have provided sufficient supervision, in view of the seriousness of the underlying crime, which involved weapons, as well as appellant's lack of remorse or empathy, gang involvement and other negative associations, substance abuse, behavioral problems at school and at home, and arrest for a later incident. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: November 18, 2021








